Case 2:17-cv-01953-RGK-AJW Document 1-1 Filed 03/10/17 Page 1 of 8 Page ID #:3




                            Exhibit A
Case 2:17-cv-01953-RGK-AJW Document 1-1 Filed 03/10/17 Page 2 of 8 Page ID #:4
Case 2:17-cv-01953-RGK-AJW Document 1-1 Filed 03/10/17 Page 3 of 8 Page ID #:5
Case 2:17-cv-01953-RGK-AJW Document 1-1 Filed 03/10/17 Page 4 of 8 Page ID #:6
Case 2:17-cv-01953-RGK-AJW Document 1-1 Filed 03/10/17 Page 5 of 8 Page ID #:7
Case 2:17-cv-01953-RGK-AJW Document 1-1 Filed 03/10/17 Page 6 of 8 Page ID #:8
Case 2:17-cv-01953-RGK-AJW Document 1-1 Filed 03/10/17 Page 7 of 8 Page ID #:9
Case 2:17-cv-01953-RGK-AJW Document 1-1 Filed 03/10/17 Page 8 of 8 Page ID #:10
